   Case 22-55390-wlh                   Doc 12 Filed 09/11/22 Entered 09/12/22 00:37:11                                            Desc Imaged
                                             Certificate of Notice Page 1 of 3
                                        UNITED STATES BANKRUPTCY COURT

                                                  Northern District of Georgia


In     Debtor(s)
Re:    The Republic Atlanta Inc.                                     Case No.: 22−55390−wlh
       990 Brady Av NW                                               Chapter: 7
       Atlanta, GA 30318                                             Judge: Wendy L. Hagenau

       82−4797373



                                            NOTICE SETTING DEADLINE FOR
                                              FILING PROOFS OF CLAIM

     You were previously notified that the schedules of the Debtor(s) disclosed no assets available for distribution to
creditors. The Trustee now reports that funds may be available for distribution.
     Therefore, you are hereby notified that, if you wish to participate in any distribution which may be paid from the
estate, you must file a proof of claim on or before:


                                            Non−government proof of claim: 12/8/22



                                              Government proof of claim: 01/11/23


                                              File with:
                                              United States Bankruptcy Court
                                              1340 United States Courthouse
                                              75 Ted Turner Drive SW
                                              Atlanta, GA 30303


Use Official Form B410 to file a claim. To file electronically visit www.ganb.uscourts.gov and access the ePOC tab. To obtain a claim form
                                      (B410) visit www.ganb.uscourts.gov and access the Forms tab.

                       If you have already filed your proof of claim, it is not necessary to refile.




                                                                                            M. Regina Thomas
                                                                                            Clerk of Court
                                                                                            U.S. Bankruptcy Court
Dated: September 9, 2022
Form ntcpoc
       Case 22-55390-wlh                    Doc 12 Filed 09/11/22 Entered 09/12/22 00:37:11                                             Desc Imaged
                                                  Certificate of Notice Page 2 of 3
                                                              United States Bankruptcy Court
                                                               Northern District of Georgia
In re:                                                                                                                 Case No. 22-55390-wlh
The Republic Atlanta Inc.                                                                                              Chapter 7
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 113E-9                                                  User: bncadmin                                                              Page 1 of 2
Date Rcvd: Sep 09, 2022                                               Form ID: ntcpoc                                                            Total Noticed: 7
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on Sep 11, 2022:
Recip ID                 Recipient Name and Address
db                     + The Republic Atlanta Inc., 990 Brady Av NW, Atlanta, GA 30318-0502
cr                       Georgia Department of Revenue, State Law Department, 40 Capitol Square SW, Atlanta, GA 30334-1300
23908359               + T12 ENTERTAINMENT LLC, 78 Dawson Village Way N,, STE 120, Dawsonville, GA 30534-5642

TOTAL: 3

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI). Electronic transmission is in Eastern
Standard Time.
Recip ID                 Notice Type: Email Address                                     Date/Time                 Recipient Name and Address
tr                     + EDI: BSGHAYS.COM
                                                                                        Sep 09 2022 23:53:00      S. Gregory Hays, Hays Financial Consulting, LLC,
                                                                                                                  Suite 555, 2964 Peachtree Road, Atlanta, GA
                                                                                                                  30305-4909
23908357                  EDI: GADEPTOFREV.COM
                                                                                        Sep 09 2022 23:53:00      georgia department of revenu, po box 105499,
                                                                                                                  Atlanta, GA 30348
23908358                  EDI: IRS.COM
                                                                                        Sep 09 2022 23:53:00      IRS, PO BOX 105416, Atlanta, GA 30348
23909495                  Email/Text: USAGAN.Bankruptcy@usdoj.gov
                                                                                        Sep 09 2022 19:57:00      United States Attorney, Northern District of
                                                                                                                  Georgia, 75 Ted Turner Drive SW, Suite 600,
                                                                                                                  Atlanta GA 30303-3309

TOTAL: 4


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: Sep 11, 2022                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on September 9, 2022 at the address(es) listed
         Case 22-55390-wlh                    Doc 12 Filed 09/11/22 Entered 09/12/22 00:37:11                                       Desc Imaged
                                                    Certificate of Notice Page 3 of 3
District/off: 113E-9                                                  User: bncadmin                                                        Page 2 of 2
Date Rcvd: Sep 09, 2022                                               Form ID: ntcpoc                                                      Total Noticed: 7
below:
Name                                  Email Address
Amy Patterson
                                      on behalf of Creditor Georgia Department of Revenue apatterson@law.ga.gov bfrank@law.ga.gov

Leonard R. Medley, III
                                      on behalf of Debtor The Republic Atlanta Inc. leonard@mkalaw.com medleylR71682@notify.bestcase.com

Office of the United States Trustee
                                      ustpregion21.at.ecf@usdoj.gov

S. Gregory Hays
                                      ghays@haysconsulting.net saskue@haysconsulting.net;GA32@ecfcbis.com


TOTAL: 4
